           Case 2:13-cr-06016-EFS            ECF No. 890     filed 12/22/14   PageID.9087 Page 1 of 2

                                        UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF WASHINGTON
                                                                                                BRANCH OFFICES
  SCOTT M. MORSE, SR.                             PROBATION OFFICE
                                                                                                FEDERAL BUILDING
   CHIEF PROBATION OFFICER
                                                                                               25 S. 3rd Street, Room 326
          Thomas S. Foley                         December 22, 2014                                  PO BOX 1791
       United States Courthouse
                                                                                              YAKIMA, WA 98907-1791
     920 W Riverside, Room 540
                                                                                          (509) 574-5535 / fax (509) 574-5539
            PO BOX 306
    SPOKANE, WA 99210-0306
                                                                                                FEDERAL BUILDING
 (509) 742-6300 / fax (509) 742-6339
                                                                                               825 Jadwin Ave, Suite 170
                                                                                            RICHLAND, WA 99352-0446
                                                                                          (509) 943-8130 / fax (509) 943-8139
REPLY TO Richland




         The Honorable Edward F. Shea
         Senior U.S. District Judge
         825 Jadwin, Suite 180
         Richland, WA 99352

                                                       RE: Patrick Bradley Brannan
                                                       Dkt. No.: 2:13CR06016-EFS-3

         Your Honor:

         On March 29, 2013, the defendant appeared before United States Magistrate Judge James P.
         Hutton, and was released on pretrial supervision. The defendant was ordered to surrender
         his passport to U.S. Pretrial Services while the matter was pending.
                                   22
         On December 19,--- 2014, an order of dismissal with prejudice was signed by the Court at the
         request of the United States Attorneys Office.

         This officer respectfully requests the Court’s permission to return the defendant’s passport
         to him.

                                                                Respectfully submitted,

                                                                Scott M. Morse, Sr.
                                                                Chief U.S. Probation Officer

                                                       By:      s/David L. McCary             12/22/2014
                                                                David L. McCary                 Date
                                                                U.S. Probation/Pretrial Officer

         APPROVED BY:


         s/Rebecca M. Nichols           12/22/2014
         Rebecca M. Nichols
         Supervising U.S. Probation Officer
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December 22, 2014
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ORDER OF THE COURT:


Approved        X                    Disapproved




                                            December 22, 2014
The Honorable Edward F. Shea                   Date
Senior U.S. District Judge
